Case: 1:19-cr-00623 Upaentany iled: 0 e 1 of 1 PagelD #:38 &
Order Forin (01/2005) 9

United States District Court, Northern District of Ilinois

 

 

 

Name ot asset STRATE JUDGE ROWLAND sitting Judge if Othe | Jeffrey Gilbert

 

 

 

 

 

 

or Magis than Assigned Judge
CASE NUMBER |16GJ 63 DATE | 01 * AUGUST * 2019
CASE
TITLE U.S. v. THOMAS E. CULLERTON
DOCKET ENTRY TEXT

 

Grand Jury Proceeding

The Grand Jury for SPECIAL DECEMBER 2017 the Session, a quorum being
present, returns the above-egfifled indictment in openf/ourt this date before

 

 

TO SET PRELIMINARY BAIL AT $10,000.00 AND THAT THE DEFENDANT BE ALLOWED TO SIGN OWN
RECOGNIZANCE BOND.

FILED
B AUG <1 2019

THOMAS G. BRUTON
CLERK, U.S. DISTRICT COURT

SIGNATURE OF JUDGE (ONLY IF FILED
or MAGISTRATE JUDGE UNDER SEAL)

 

 

 

 

 

Courtroom Deputy Initials:

 

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